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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



Jerald Boitnott,                                  Case No. 18-CV-01620 (SRN/KMM)

                       Plaintiff,
           v.                                                   ORDER

M&H Gas, et al.,

                       Defendants.



       The Court having been advised that the above case has been settled,

       IT IS ORDERED that this action is hereby dismissed, without prejudice, the Court

reserving jurisdiction for sixty (60) days to permit any party to move to reopen the action,

for good cause shown, or to submit and file a stipulated form of final judgment.


       Dated: July 31, 2018

                                                 s/Susan Richard Nelson
                                                 SUSAN RICHARD NELSON
                                                 United States District Judge
